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 Debtor     COMPREHENSIVE INTERVENTIONAL CARE CENTERS,                                               Case number (ifknown)
            PLLC
            NJ 1".-




          • Request for Relief, Declaration, and Signatures

 WARNING - Bankruptcy fraud isa senous cnme Making a false statement in connection with a bankruptcy casecan result in fines up to S500 000 or
                  impnsonment for up to 20 years, or both 18USC §§ 152. 1341, 1519, and 3571
 17. Declaration and signature
     of authorized                  The debtor requests relief inaccordance with the chapteroftitle 11, United States Code, specified in this petition
     representative of debtor
                                    I have been authorized to file this petition on behalf ofthe debtor

                                    Ihaveexamined the information in this petition and have a reasonable belief thatthe information is trued and correct.
                                    Ideclare underpenalty of perjury that theforegoing is true and correct

                                    Executed on 03/j3J %0Stf^
                                                     MM/DD/YYYY



                                                                                                          Joel Rainwater, MD
                                                                                                          Printed name


                                                                                                          JRainwater@CICCenters.com
                                                                                                          Email Address of debtor
                                    Title   Manager




 18. Signature of attorney
                                                                                                                  MM / DO / YYYY


                                    Wesley D.Ray 026351
                                    Printed name


                                    Sacks Tierney P.A.
                                    Firm name


                                    4250 N Drinkwater Blvd.
                                    4th Floor
                                    Scottsdale, AZ 85251-3693
                                    Number, Street, City, State & ZIP Code


                                   Contact phone      480-425-2600                 Email address     Wesley.Ray@sackstierney.com

                                   026351 AZ
                                   Bar number and State




Official Form 201            Voluntary Petition
           Case 2:25-bk-01225-DPC       Doc 1for Non-Individuals
                                                  Filed 02/13/25 Filing for Bankruptcy
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